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AFFIDAVIT OF SERVICE

UNITED STATES DISTRICT COURT
Eastern District of Texas

Case Number: 2:23-CV-394

Plaintiff:
Intercurrency Software LLC

VS.

Defendant:
MEK Global Limited and PhoenixFin Pte Ltd.

For:

Garteiser Honea, PLLC
119 W. Ferguson St.
Tyler, TX 75702

Received by Justin Rogers on the 27th day of October, 2023 at 2:57 pm to be served on MEK Global Limited by serving
through the Texas Secretary of State, 1019 Brazos, Austin, Travis County, TX 787071.

|, Justin Rogers, being duly sworn, depose and say that on the 27th day of October, 2023 at 3:32 pm, I:

executed to the SECRETARY OF STATE by delivering in duplicate a true copy of the Summons in a Civil Action and
Original Complaint for Patent Infringement with the date of delivery endorsed thereon by me, to: Michelle Robinson at
1019 Brazos, Austin, Travis County, TX 78701, as the designated agent for the Texas Secretary of State to accept
delivery of process on behalf of MEK Global Limited. An administrative fee of $55.00 was also tendered.

| certify that | am over the age of 18, have no interest in the above action, and am a certified process server, in good
standing, in the judicial circuit in which the foregoing occurred. The facts in this affidavit are within my personal knowledge
and are true and correct.

wy Justin Rogers if
Subscribed and sworn to before me en ne ar P§C20023, Exp. 06/30/2025
y the affiant jo L227 LZ3
Date et
NOTARY PUBLIC Malone Process Service, LLC

P.O. Box 720040
Dallas, TX 75372
(877) 997-3783

NICOLE M. WADE
My Notary ID # 429086987

Expires August 9, 2024 Our Job Serial Number: ATX-2023014892

Ref: Intercurrency Software v. Mek Global Ltd

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